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05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )
08               Plaintiff,               )           Case No. CR06-0220-JLR-JPD
                                          )
09         v.                             )
                                          )           DETENTION ORDER
10   ANDRES VIZCARRA-MORENO,              )
                                          )
11               Defendant.               )
     ____________________________________ )
12

13 Offenses charged:

14          Count 1: Conspiracy to Distribute Methamphetamine in violation of 21 U.S.C.

15 §§ 841(a)(1) and 846.

16          Counts 2 and 4: Distribution of Methamphetamine in violation of 21 U.S.C.

17 §§ 841(a)(1), 841(b)(1)(A), 846, and 18 U.S.C. § 2.

18          Count 3: Conspiracy to Import Methamphetamine in violation of 21

19 U.S.C. §§ 952(a), 960(b)(1)(H), and 963.

20 Date of Detention Hearing: November 6, 2006.

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22 based upon the factual findings and statement of reasons for detention hereafter set forth,

23 finds the following:

24         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

25          (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

26 defendant is a flight risk and a danger to the community based on the nature of the pending

     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01 charges. It is appropriate to apply the presumption in this case.

02          (2)     Defendant is a native and citizen of Mexico.

03          (3)     Defendant has family ties in Mexico.

04          (4)     Defendant has no known ties to the Western District of Washington or to this

05 community.

06          (5)     There appear to be no conditions or combination of conditions other than

07 detention that will reasonably address the risk of flight.

08          IT IS THEREFORE ORDERED:

09          (1)     Defendant shall be detained pending trial and committed to the custody of the

10                  Attorney General for confinement in a correction facility separate, to the

11                  extent practicable, from persons awaiting or serving sentences or being held in

12                  custody pending appeal;

13          (2)     Defendant shall be afforded reasonable opportunity for private consultation

14                  with counsel;

15          (3)     On order of a court of the United States or on request of an attorney for the

16                  government, the person in charge of the corrections facility in which

17                  defendant is confined shall deliver the defendant to a United States Marshal

18                  for the purpose of an appearance in connection with a court proceeding; and

19          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

20                  counsel for the defendant, to the United States Marshal, and to the United

21                  States Pretrial Services Officer.

22                  DATED this 6th day of November, 2006.

23

24
                                                           A
                                                           JAMES P. DONOHUE
                                                           United States Magistrate Judge
25

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     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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